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                                                  UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF NEVADA




In re: [CASE
       CAPRIATI
             NAME]
                CONSTRUCTION CORP, Inc.                                       Case No.                       BK-15-15722

                                                                              CHAPTER 11
                                                                              MONTHLY OPERATING REPORT
                                                                              (GENERAL BUSINESS CASE)

                                                      SUMMARY OF FINANCIAL STATUS

        MONTH ENDED:            11/30/2016                                  PETITION DATE:                     10/07/15

1.      Debtor in possession (or trustee) hereby submits this Monthly Operating Report on the Accrual Basis of accounting (or if checked here
        the Office of the U.S. Trustee or the Court has approved the Cash Basis of Accounting for the Debtor).
        Dollars reported in     $1
                                                                            End of Current              End of Prior                  As of Petition
2.      Asset and Liability Structure                                            Month                      Month                          Filing
        a. Current Assets                                                          $5,829,055                  $4,335,835
        b. Total Assets                                                            $7,853,453                  $6,360,233                   $7,995,075
        c. Current Liabilities                                                       $785,769                    $524,621
        d. Total Liabilities                                                      $11,672,609                $11,411,461                   $16,362,355
                                                                                                                                        Cumulative
3.      Statement of Cash Receipts & Disbursements for Month                Current Month               Prior Month                   (Case to Date)
        a. Total Receipts                                                            $777,102                    $714,946                  $12,419,830
        b. Total Disbursements                                                       $685,317                    $714,586                  $12,061,623
        c. Excess (Deficiency) of Receipts Over Disbursements (a - b)                 $91,785                        $360                      $261,005
        d. Cash Balance Beginning of Month                                           $231,322                    $231,322                      $251,546
        e. Cash Balance End of Month (c + d)                                         $323,107                    $231,682                      $512,551
                                                                                                                                        Cumulative
                                                                            Current Month               Prior Month                   (Case to Date)
4.      Profit/(Loss) from the Statement of Operations                                $35,125                    $137,188                      $745,113
5.      Account Receivables (Pre and Post Petition)                                $5,219,766                  $3,817,971
6.      Post-Petition Liabilities                                                    $785,769                    $524,621
7.      Past Due Post-Petition Account Payables (over 30 days)                             $0                          $0

At the end of this reporting month:                                                                               Yes                              No
8.    Have any payments been made on pre-petition debt, other than payments in the normal                                                x
      course to secured creditors or lessors? (if yes, attach listing including date of
      payment, amount of payment and name of payee)
9.    Have any payments been made to professionals? (if yes, attach listing including date of                                            x
      payment, amount of payment and name of payee)
10. If the answer is yes to 8 or 9, were all such payments approved by the court?
11. Have any payments been made to officers, insiders, shareholders, relatives? (if yes,                                                 x
      attach listing including date of payment, amount and reason for payment, and name of payee)
12. Is the estate insured for replacement cost of assets and for general liability?               x
13. Are a plan and disclosure statement on file?                                                  x
14. Was there any post-petition borrowing during this reporting period?                                                                  x

15.     Check if paid: Post-petition taxes        ;                 U.S. Trustee Quarterly Fees         ; Check if filing is current for: Post-petition
        tax reporting and tax returns:        x .
        (Attach explanation, if post-petition taxes or U.S. Trustee Quarterly Fees are not paid current or if post-petition tax
        reporting and tax return filings are not current.)


I declare under penalty of perjury I have reviewed the above summary and attached financial statements, and after making reasonable inquiry
believe these documents are correct.



Date:     10/20/2016 16:00                                                  David Rocchio, Jr.
                                                                            Responsible Individual

                                                                                                                                                 Revised 1/1/98
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                                                              STATEMENT OF OPERATIONS
                                                                 (General Business Case)
                                                                   For the Month Ended             11/30/16


                      Current Month
                                                                                                                        Cumulative       Next Month
     Actual               Forecast             Variance                                                                (Case to Date)     Forecast
                                                                      Revenues:
     $1,089,660            $1,850,000             ($760,340)      1    Gross Sales                                        $21,632,790      $1,850,000
                                                         $0       2    less: Sales Returns & Allowances
     $1,089,660            $1,850,000             ($760,340)      3    Net Sales                                           $21,632,790     $1,850,000
       $615,697            $1,055,000              $439,303       4    less: Cost of Goods Sold       (Schedule 'B')       $13,176,450     $1,055,000
       $473,963              $795,000             ($321,037)      5    Gross Profit                                         $8,456,340       $795,000
                                                         $0       6    Interest
                                                         $0       7    Other Income:
                                                         $0       8
                                                         $0       9

       $473,963              $795,000             ($321,037)    10       Total Revenues                                     $8,456,340        $795,000

                                                                      Expenses:
         $4,940                $5,901                  $961     11     Compensation to Owner(s)/Officer(s)                     $82,307          $5,901
       $326,538              $480,000              $153,462     12     Salaries                                             $5,744,320        $480,000
                                                         $0     13     Commissions
                                                         $0     14     Contract Labor
                                                                       Rent/Lease:
                                                         $0     15        Personal Property
        $14,500               $14,500                    $0     16        Real Property                                       $211,000         $14,500
        $28,243               $89,463               $61,220     17     Insurance                                            $1,082,587         $89,463
                                                         $0     18     Management Fees
                                                         $0     19     Depreciation
                                                                       Taxes:
        $35,699               $57,500               $21,801     20        Employer Payroll Taxes                              $568,396         $57,500
                                                         $0     21        Real Property Taxes
                                                         $0     22        Other Taxes
                                                         $0     23     Other Selling
        $48,918               $50,000                $1,082     24     Other Administrative                                   $602,348         $50,000
                                                         $0     25     Interest                                                $77,983
                                                         $0     26     Other Expenses:
                                                         $0     27    Equipmnet Overhead Allocation Adjustment                    $618
                                                         $0     28
                                                         $0     29
                                                         $0     30
                                                         $0     31
                                                         $0     32
                                                         $0     33
                                                         $0     34

       $458,838              $697,364             $238,526      35       Total Expenses                                     $8,369,559        $697,364

        $15,125               $97,636              ($82,511)    36 Subtotal                                                    $86,781         $97,636

                                                                  Reorganization Items:
        $20,000                      $0            ($20,000)    37 Professional Fees                                          $256,182                $0
                                                         $0     38 Provisions for Rejected Executory Contracts
                                                         $0     39 Interest Earned on Accumulated Cash from
                                                                   Resulting Chp 11 Case
              $0                                         $0     40 Gain or (Loss) from Sale of Equipment                            $0
              $0                   $0                    $0     41 U.S. Trustee Quarterly Fees                                 $20,150              $0
              $0              $61,000               $61,000     42 APO                                                        $382,000         $61,000

        $20,000               $61,000              ($41,000)    43        Total Reorganization Items                          $658,332         $61,000

        $35,125              $158,636             ($123,511)    44 Net Profit (Loss) Before Federal & State Taxes             $745,113        $158,636
                                                         $0     45 Federal & State Income Taxes

        $35,125              $158,636             ($123,511)    46 Net Profit (Loss)                                          $745,113        $158,636

Attach an Explanation of Variance to Statement of Operations (For variances greater than +/- 10% only):


                                                                                                                                          Revised 1/1/98
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                                                        BALANCE SHEET
                                                      (General Business Case)
                                                     For the Month Ended            11/30/16


     Assets
                                                                                From Schedules                  Market Value
         Current Assets

 1            Cash and cash equivalents - unrestricted                                                                     $323,107
 2            Cash and cash equivalents - restricted
 3            Accounts receivable (net)                                                 A                                $5,219,766
 4            Inventory                                                                 B                                  $150,000
 5            Prepaid expenses
 6            Professional retainers                                                                                       $136,182
 7            Other:
 8

 9                    Total Current Assets                                                                               $5,829,055

         Property and Equipment (Market Value)

10            Real property                                                             C                                        $0
11            Machinery and equipment                                                   D                                $1,684,273
12            Furniture and fixtures                                                    D                                        $0
13            Office equipment                                                          D                                   $26,350
14            Leasehold improvements                                                    D                                        $0
15            Vehicles                                                                  D                                  $313,775
16            Other:                                                                    D
17                                                                                      D
18                                                                                      D
19                                                                                      D
20                                                                                      D

21                    Total Property and Equipment                                                                       $2,024,398

         Other Assets

22            Loans to shareholders
23            Loans to affiliates
24
25
26
27
28                    Total Other Assets                                                                                           $0
29                    Total Assets                                                                                       $7,853,453

     NOTE:
              Indicate the method used to estimate the market value of assets (e.g., appraisals; familiarity with comparable market
              prices, etc.) and the date the value was determined.




                                                                                                                      Revised 1/1/98
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                                                    Liabilities and Equity
                                                    (General Business Case)


     Liabilities From Schedules

          Post-Petition

               Current Liabilities

30                      Salaries and wages
31                      Payroll taxes                                                                                 $13,885
32                      Real and personal property taxes
33                      Income taxes
34                      Sales taxes
35                      Notes payable (short term)
36                      Accounts payable (trade)                                         A                           $751,884
37                      Real property lease arrearage
38                      Personal property lease arrearage
39                      Accrued professional fees                                                                     $20,000
40                      Current portion of long-term post-petition debt (due within 12 months)
41                      Other:
42
43

44                      Total Current Liabilities                                                                    $785,769

45             Long-Term Post-Petition Debt, Net of Current Portion

46                      Total Post-Petition Liabilities                                                              $785,769

          Pre-Petition Liabilities (allowed amount)

47                      Secured claims                                                   F                         $5,502,120
48                      Priority unsecured claims                                        F                           $121,873
49                      General unsecured claims                                         F                         $5,262,847

50                      Total Pre-Petition Liabilities                                                           $10,886,840

51                      Total Liabilities                                                                        $11,672,609

     Equity (Deficit)

52             Retained Earnings/(Deficit) at time of filing                                                      ($8,367,280)
53             Capital Stock                                                                                             $100
54             Additional paid-in capital
55             Cumulative profit/(loss) since filing of case                                                         $745,113
56             Officer Loan/New Value from David Rocchio Sr                                                          $557,072
57             Adjustment from Reorganization Items                                                                 ($658,332)
58             Market value adjustment                                                                             $3,904,171

59                      Total Equity (Deficit)                                                                    ($3,819,156)

60   Total Liabilities and Equity (Deficit)                                                                        $7,853,453




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                                             SCHEDULES TO THE BALANCE SHEET
                                                             (General Business Case)

                                                                   Schedule A
                                                    Accounts Receivable and (Net) Payable

                                                                            Accounts Receivable        Accounts Payable            Past Due
Receivables and Payables Agings                                            [Pre and Post Petition]      [Post Petition]       Post Petition Debt
  0 -30 Days                                                                           $1,716,785              $751,884
  31-60 Days                                                                             $994,509
  61-90 Days                                                                             $395,045
  91+ Days                                                                             $2,113,427
  Total accounts receivable/payable                                                    $5,219,766             $751,884
  Allowance for doubtful accounts
  Accounts receivable (net)                                                               $5,219,766


                                                                   Schedule B
                                                           Inventory/Cost of Goods Sold
Types and Amount of Inventory(ies)                                        Cost of Goods Sold
                                              Inventory(ies)
                                                Balance at
                                              End of Month                Inventory Beginning of Month                                         150000
                                                                          Add -
   Retail/Restaurants -                                                    Net purchase
    Product for resale                                                     Direct labor
                                                                           Manufacturing overhead
   Distribution -                                                          Freight in
    Products for resale                                                    Other:

   Manufacturer -
    Raw Materials
    Work-in-progress                                                      Less -
    Finished goods                                                         Inventory End of Month
                                                                           Shrinkage
   Other - Explain                                                         Personal Use

                                                                          Cost of Goods Sold                                             $615,697
     TOTAL                                                  $150,000

   Method of Inventory Control                                            Inventory Valuation Methods
   Do you have a functioning perpetual inventory system?                  Indicate by a checkmark method of inventory used.
              Yes           No
   How often do you take a complete physical inventory?                   Valuation methods -
                                                                            FIFO cost
    Weekly                                                                  LIFO cost
    Monthly                                                                 Lower of cost or market
    Quarterly                                                               Retail method
    Semi-annually                                                           Other
    Annually                                                                 Explain
Date of last physical inventory was

Date of next physical inventory is




                                                                                                                              Revised 1/1/98
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                                                         Schedule C
                                                        Real Property

Description                                                                      Cost                Market Value




     Total                                                                                $0                          $0


                                                        Schedule D
                                                  Other Depreciable Assets

Description                                                                      Cost                Market Value
Machinery & Equipment -
     Equipment and Tools                                                         $3,942,163                   $1,684,273



     Total                                                                       $3,942,163                   $1,684,273

Furniture & Fixtures -




     Total                                                                                $0                          $0

Office Equipment -
     Office Equipment and Computer Software                                          $267,151                    $26,350


     Total                                                                           $267,151                    $26,350

Leasehold Improvements -




     Total                                                                                $0                          $0

Vehicles -
     Vehicles                                                                        $922,724                   $313,775



     Total                                                                           $922,724                   $313,775




                                                                                                     Revised 1/1/98
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                                                               Schedule E
                                                      Aging of Post-Petition Taxes
                                              (As of End of the Current Reporting Period)

Taxes Payable                                      0-30 Days          31-60 Days         61-90 Days         91+ Days              Total
Federal
      Income Tax Withholding                                 $0                                                                         $0
      FICA - Employee                                        $0                                                                         $0
      FICA - Employer                                        $0                                                                         $0
      Unemployment (FUTA)                                  $421                   $0                $0                                $421
      Income                                                                                                                            $0
      Other (Attach List)                                                                                                               $0
Total Federal Taxes                                        $421                   $0                $0               $0               $421
State and Local
      Income Tax Withholding                                 $0                                                                         $0
      Unemployment (UT)                                  $3,039                   $0                $0                              $3,039
      Disability Insurance (DI)                              $0                                                                         $0
      Empl. Training Tax (ETT)                               $0                                                                         $0
      Sales                                                  $0                                                                         $0
      Excise                                                                                                                            $0
      Real property                                                                                                                     $0
      Personal property                                                                                                                 $0
      Income                                                                                                                            $0
      Other Modified Business Tax                        $4,622              $5,803                 $0                             $10,425
Total State & Local Taxes                                $7,661              $5,803                 $0               $0            $13,464
Total Taxes                                              $8,082              $5,803                 $0               $0            $13,885



                                                               Schedule F
                                                          Pre-Petition Liabilities

                                                                                           Claimed          Allowed
List Total Claims For Each Classification -                                                Amount          Amount (b)
      Secured claims (a)                                                                   $5,392,276       $5,502,120
      Priority claims other than taxes
      Priority tax claims                                                                   $280,923          $121,873
      General unsecured claims                                                             $5,262,847       $5,262,847

      (a)   List total amount of claims even it under secured.
      (b)   Estimated amount of claim to be allowed after compromise or litigation. As an example, you are a defendant in a lawsuit
            alleging damage of $10,000,000 and a proof of claim is filed in that amount. You believe that you can settle the case for a
            claim of $3,000,000. For Schedule F reporting purposes you should list $10,000,000 as the Claimed Amount and
            $3,000,000 as the Allowed Amount.
                                                               Schedule G
                                                      Rental Income Information
                                                Not applicable to General Business Cases

                                                               Schedule H
                                             Recapitulation of Funds Held at End of Month

                                                  Account 1           Account 2      Account 3              Account 4
Bank                                           BOA                 BOA             BOA
Account Type                                   Checking            Checking        Checking
Account No.                                              9238                 3134           3121
Account Purpose                                DIP                 DIP             DIP
Balance, End of Month                                 $33,225               $1,333          $100
Total Funds on Hand for all Accounts                  $34,658

Attach copies of the month end bank statement(s), reconciliation(s), and the check register(s) to the Monthly Operating Report.

                                                                                                                              Revised 1/1/98
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                                  STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS
                                                Increase/(Decrease) in Cash and Cash Equivalents
                                                      For the Month Ended     11/30/16

                                                                                                Actual                   Cumulative
                                                                                             Current Month              (Case to Date)
     Cash Receipts
1          Rent/Leases Collected
2          Cash Received from Sales                                                                 $777,102                 $11,597,023
3          Interest Received
4          Borrowings
5          Funds from Shareholders, Partners, or Other Insiders
6          Officer Loan / New Value from David Rocchio Sr                                                                        $557,072
7          Transfer of Unfrozen Acct                                                                                              $97,149
8          Misc Bank Refund                                                                                  $0                    $6,425
9          Proceeds from Redeemed CD                                                                         $0                  $162,161
10
11

12               Total Cash Receipts                                                                $777,102                 $12,419,830

     Cash Disbursements
13         Payments for Inventory                                                                    $168,702                   $2,764,507
14         Selling
15         Administrative                                                                            $38,357                     $611,073
16         Capital Expenditures
17         Principal Payments on Debt
18         Interest Paid                                                                                     $0                   $22,928
           Rent/Lease:
19               Personal Property
20               Real Property                                                                               $0                  $199,448
           Amount Paid to Owner(s)/Officer(s)
21               Salaries                                                                             $4,940                      $81,860
22               Draws
23               Commissions/Royalties
24               Expense Reimbursements
25               Other
26         Salaries/Commissions (less employee withholding)                                         $262,930                   $4,515,372
27         Management Fees
           Taxes:
28               Employee Withholding                                                                $56,652                     $851,358
29               Employer Payroll Taxes                                                              $35,699                     $571,269
30               Real Property Taxes
31               Other Taxes                                                                                 $0                  $365,915
32         Other Cash Outflows:
33               Insurance                                                                           $63,393                   $1,159,115
34               Secured Debt Payment - Plaza Bank                                                   $38,439                    $345,951
35               APO / Nations and CAT                                                                $8,000                    $398,000
36               Stipulated Payments                                                                  $8,205                    $144,927
37               DOJ                                                                                      $0                      $29,900

38               Total Cash Disbursements:                                                          $685,317                 $12,061,623

39 Net Increase (Decrease) in Cash                                                                   $91,785                     $358,207

40 Cash Balance, Beginning of Period                                                                $231,322                     $251,546

41 Cash Balance, End of Period                                                                      $323,107                     $609,753



                                                                                                                     Revised 1/1/98
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